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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

  MICHAEL FAULK,                              )
                                              )
                Plaintiff,                    )      Case No. 4:18-CV-308
                                              )
  v.                                          )
                                              )
  CITY OF ST. LOUIS, et al.,                  )
                                              )
                Defendants.                   )

                 DEFENDANTS’ MEMORANDUM OF LAW
        IN SUPPORT OF MOTION FOR JUDGMENT ON THE PLEADINGS
         ON COUNT V OF PLAINTIFF’S FIFTH AMENDED COMPLAINT

         COME NOW Defendants Gerald Leyshock, Scott Boyher, Timothy Sachs, Randy

  Jemerson, Matthew Karnowski, Brian Rossomanno, Andrew Wismar, Robert Stuart,

  Anthony Wozniak, Tom Long, John Gentilini, James Wood, Bryan Barton, Lawrence

  O’Toole, Brian Gonzales, and James Harris III (collectively “Defendants”), by and

  through their attorney Julian Bush, City Counselor for the City of St. Louis, pursuant to

  Federal Rule of Civil Procedure 12(c), and for Defendants’ Memorandum of Law in

  Support of Defendants’ Motion for Judgment on the Pleadings on Counts V of Plaintiff’s

  Fifth Amended Complaint (“Plaintiff’s Complaint”) state as follows:

                                    INTRODUCTION

         Count V Plaintiff’s Complaint asserts a § 1983 conspiracy claim against

  Defendants stemming from Plaintiff’s arrest on September 17, 2017. Because the

  application of the intracorporate conspiracy doctrine has not been addressed

  authoritatively in §1983 cases in this Circuit, this Court must, at is has recently done,




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  apply qualified immunity here and grant judgment on the pleadings on Count V in favor

  of Defendants.

                                     LEGAL STANDARD

          A party may move for judgment on the pleadings. Fed. R. Civ. P. 12(c). Failure to

  state a claim upon which relief may be granted is properly raised by a motion for

  judgment on the pleadings. Fed. R. Civ. P. 12(h)(2). The distinction between a Rule

  12(b)(6) motion and one under Rule 12(c) is “purely formal” as both are reviewed under

  the same standard. Wescott v. City of Omaha, 901 F.2d 1486, 1488 (8th Cir. 1990). To

  survive a Rule 12(b)(6) motion to dismiss or a Rule 12(c) motion for judgment on the

  pleadings, a plaintiff must allege facts sufficient “to state a claim to relief that is plausible

  on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). When ruling on a motion for

  judgment on the pleadings, the Court must take the allegations of the Complaint as true

  and liberally construe the Complaint in a light most favorable to plaintiffs. Kottschade v.

  City of Rochester, 319 F.3d 1038, 1040 (8th Cir. 2003). However, while detailed factual

  allegations are not required, neither “labels and conclusions” nor “a formulaic recitation

  of the elements of a cause of action” will suffice. Bell Atlantic Corp. v. Twombly, 550

  U.S. 544, 545 (2007). To state a claim under § 1983, “a plaintiff must plead that each

  government-official defendant, through the official’s own individual actions, has violated

  the Constitution.” Iqbal, 556 U.S. at 678. Here, Defendants are entitled to qualified

  immunity on the face of Plaintiff’s Complaint with respect to Count V, and judgment on

  the pleadings must be entered in favor of Defendants on Count V.




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                                        ARGUMENT

  I.     DEFENDANTS ARE QUALIFIEDLY IMMUNE TO PLAINTIFF’S
         ALLEGED § 1983 CONSPIRACY CLAIM BECAUSE THE LAW OF
         INTRACORPORATE CONSPIRACY UNDER 42 U.S.C. §1983 IS
         UNSETTLED AND DEFENDANTS HAD NO NOTICE IN 2017 THAT
         THEIR JOINING IN PLANNING, DIRECTING, OR EXECUTING A
         MASS   ARREST    OF   DISORDERLY    PROTESTERS   WAS
         UNCONSTITUTIONAL.

         Plaintiff’s Complaint alleges that “Defendants, acting in their individual

  capacities, . . . conspired together and with others, and reached a mutual understanding to

  undertake a course of conduct that violated Mr. Faulk’s civil rights.” Doc. 126 at ¶ 251.

  Plaintiff also claims that Long, Wozniak, Wismar, Gentilini, Stuart, Harris, Gonzales,

  Barton, and Wood “joined the conspiracy when they agreed to participate in the illegal

  kettling plan and then unlawfully arrested and used excessive force on Plaintiff.” Id. at ¶

  255.

         Defendants’ argument concerning qualified immunity to plaintiffs' conspiracy

  claim is quite simple: Because the application of the intracorporate conspiracy doctrine

  has not been addressed authoritatively in §1983 cases in this Circuit, this Court must

  apply qualified immunity here. This conclusion follows from Ziglar v. Abbasi, 137 S.Ct.

  1843 (2017), where the Supreme Court held that officials were entitled to qualified

  immunity on §1985 conspiracy claims because the lower courts were divided on the

  applicability of the intracorporate conspiracy doctrine in a § 1985 case. Ziglar v. Abbasi,

  137 S.Ct. 1843, (2017).

         In that case, the Supreme Court declared that the government officers involved in

  alleged intentional constitutional violations were entitled to qualified immunity,

  observing that close and frequent consultations to facilitate the adoption and



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  implementation of policies are essential to the orderly conduct of governmental affairs,

  and if those discussions, and the resulting policies, were to be the basis for private suits

  seeking damages against the officials as individuals, “the result would be to chill the

  interchange and discourse that is necessary for the adoption and implementation of

  governmental policies” 137 S.Ct. at 1868-69. To be sure, Ziglar was decided under

  §1985(3), but the principles of qualified immunity applied in Ziglar are identical to

  immunity principles applied in claims under §1983. E.g., Ashcroft v. al-Kidd, 563 U.S.

  731 (2011); Plumhoff v. Rickard, 134 S.Ct. 2012 (2014); Hanson v. Best, 915 F.3d 543

  (8th Cir. 2019).

         In light of the above, on August 4, 2020, Chief Judge Rodney Sippel of this Court

  granted judgment on the pleadings on qualified immunity grounds in favor of defendant

  police officers on analogous § 1983 conspiracy claims arising from the same mass arrest

  incident at issue in this case. Baude v. City of St. Louis, No. 4:18-CV-1564-RWS, 2020

  U.S. Dist. LEXIS 139770, at *26 (E.D. Mo. Aug. 4, 2020). In Baude, the Court held that

  the defendant police officers were entitled to qualified immunity from analogous § 1983

  conspiracy claims because “it cannot be said that the law regarding the application of the

  intracorporate conspiracy doctrine in § 1983 cases is clearly established.” Id. at 28.

  Accordingly, the Court held that, “[g]iven the uncertainty regarding the applicability of

  the intracorporate conspiracy doctrine in § 1983 cases, the officers could not have

  reasonably known their actions would open them up to liability for a conspiracy.” Id. at

  28.

         Here, like in Baude, because the intracorporate conspiracy doctrine has not been

  addressed authoritatively in §1983 cases in this Circuit, Defendants could not have



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  reasonably known that their alleged actions would open them up to liability for a

  conspiracy. Thus, Defendants are entitled to qualified immunity to Count V of Plaintiff’s

  Complaint and judgment on the pleadings must be entered in favor of Defendants on

  Count V.

         WHEREFORE, for all of the reasons set forth above, Defendants respectfully

  requests that this honorable Court grant Defendants’ Motion for Judgment on the

  Pleadings and enter Judgment in favor of Defendants on Count V of Plaintiff’s

  Complaint.


                                              Respectfully submitted,

                                              JULIAN BUSH
                                              CITY COUNSELOR

                                              /s/ Andrew D. Wheaton
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                              CERTIFICATE OF SERVICE

         I hereby certify that on September 9, 2020, the foregoing was electronically filed
  with the Clerk of the Court to be served by operation of the Court’s electronic filing
  system.

                                              /s/ Andrew D. Wheaton




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